Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                          Document      Page 1 of 33
              Case 21-04729         Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50                         Desc Main
                                                   Document      Page 2 of 33
Debtor Name   Crave  Brands, LLC
              _______________________________________________________                             21-042729
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                       
                                                                                                                          ✔             


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               1,546,494.00
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                            868,658.00
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          738,345.00
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +     130,313.00
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                               1,676,807.00
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              =   $ __________

        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                         104,960.80
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
              Case 21-04729          Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50                           Desc Main
                                                    Document      Page 3 of 33
Debtor Name   Crave  Brands, LLC
              _______________________________________________________                                21-042729
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                          29,972.24
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         161
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                         174
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                            0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                        $ 788,381.00
                                          ____________           –     868,658.00
                                                                     $ ____________
                                                                                               =       80,277.00
                                                                                                   $ ____________
    32. Cash receipts
                                        $ 700,391.00                   738,345.00              =       37,954.00
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                           87,990.00             –     130,313.00              =       42,323.00
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                         1,177,514.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  1,159,270.00

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    18,244.00




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
              Case 21-04729          Doc 112           Filed 05/25/21 Entered 05/25/21 12:59:50                   Desc Main
                                                       Document      Page 4 of 33
Debtor Name   Crave  Brands, LLC
              _______________________________________________________                             21-042729
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4


         Print                     Save As...                                                                                Reset
Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                          Document      Page 5 of 33




                             Exhibit C
                                  Case 21-04729             Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50                                          Desc Main
                                                                      Document      Page 6 of 33




Meathead Restaurant, LLC - Cash Flow Projections
                                                                            Friday          Monday           Tuesday     Wednesday         Thursday           Friday          Monday           Tuesday
                                            Source                         4/9/2021        4/12/2021        4/13/2021    4/14/2021         4/15/2021        4/16/2021        4/19/2021        4/20/2021

Beginning Daily Balance Chase                                          $ 1,441,982     $ 1,443,188      $ 1,447,071      $ 1,448,200   $ 1,454,669      $ 1,455,981      $ 1,457,147      $ 1,461,806
Beginning Daily Balance 5/3                                            $ 185,857       $    81,156      $ 177,841        $ 220,401     $ 242,311        $ 235,926        $ 263,530        $ 317,446
Beginning Daily Balance Total                                          $ 1,627,839     $ 1,524,345      $ 1,624,912      $ 1,668,602   $ 1,696,981      $ 1,691,907      $ 1,720,677      $ 1,779,252

Revenue
   Cash Receipts                Prior Day Cash Sales                   $       4,180   $      12,937    $       4,763    $     4,596   $       2,938    $       3,324    $      18,148    $       3,477
   Credit Card Receipts         2 Days Prior Credit Sales              $      19,873   $      78,976    $      24,341    $    17,803   $      20,722    $      20,977    $      84,897    $      25,750
   EZ Catering                                                                                                           $       831
   KiddoCatering                                                                                                         $        94                                                      $          237
   Uber                                                                                                 $        8,655                                                                    $        8,958
   WholeSomeFood
   CornerStone                                                                                                           $     1,149
   DoorDash                                                            $      18,867                                                                    $      20,528
   Postmates                                                                                            $        3,025                                                                    $        3,535
   GrubHub                                                             $       6,029                                                                    $        9,396
   TapMango (Square)                                                   $       4,431   $      18,947    $        5,160   $     3,167   $        3,623   $        4,404   $      18,365    $        5,661
   Miscellaneous Receipts       As Needed                                                               $           50   $     4,258                                                      $           71

Total Revenue                                                          $      53,381   $     110,860    $      45,993    $    31,897   $      27,283    $      58,629    $     121,410    $      47,688

A/P Checks
   Issued                                                              $      11,890
   Cleared                                                             $      13,005   $         295    $          35    $       67    $         -      $         -      $         -      $         -
   Outstanding                                                         $         620   $         325    $         290    $      223    $         223    $         223    $         223    $         223

Distributions
    Restaurant Hourly Wages
    Restaurant Salary Wages
    S. Karfaridis Wages
    M. Webb Wages
    S. Bailey Wages
    Est. Payroll Taxes & Fees
   Total Payroll
   Facilities Rent                                                     $       8,164                                                                                     $      45,584    $      14,088
   Deferred Rent Agreements
   LQD Interest                                                                                                                                         $      21,982
   Gordon Foods                                                        $     135,107                    $        1,316                 $      21,234    $       7,777    $      11,258    $      30,971
   Sales Tax - Current                                                                                                                 $      10,938                                      $         768
   Sales Tax - Defer Agreement                                                         $        4,971                                                                    $        4,971
   TapMango                                                                                                              $     2,457
   Comed                                                                                                $         952
   Ameren                                                              $         478
   People's Gas/Nicor                                                                                                    $      994
   Nipsco
   Republic/Groot                                                                      $        1,906
   Public Storage
   World Pay Monthly CC Fees
   ATT/Comcast                                                         $         120                                                                    $         100
   NCR/Bank Fees                                                                       $        2,979
   GFC Leasing
   Vonage
   Constant Contact
   Network Solutions
   Serv Corp
   Miscellaneous Expense                                                               $       141                                     $       185                       $     1,022
Total Distributions                                                    $ 156,875       $    10,292      $     2,303      $     3,518   $    32,357      $    29,859      $    62,835      $    45,828
Ending Balance                                                         $ 1,524,345     $ 1,624,912      $ 1,668,602      $ 1,696,981   $ 1,691,907      $ 1,720,677      $ 1,779,252      $ 1,781,113
                                  Case 21-04729             Doc 112           Filed 05/25/21 Entered 05/25/21 12:59:50                                           Desc Main
                                                                              Document      Page 7 of 33




Meathead Restaurant, LLC - Cash Flow Projections
                                                            Wednesday         Thursday           Friday          Monday           Tuesday     Wednesday         Thursday           Friday
                                            Source          4/21/2021         4/22/2021        4/23/2021        4/26/2021        4/27/2021    4/28/2021         4/29/2021        4/30/2021

Beginning Daily Balance Chase                               $ 1,463,160   $ 1,464,332      $ 1,465,916      $ 1,467,057      $ 1,471,678      $ 1,472,841   $ 1,473,667      $ 1,476,335
Beginning Daily Balance 5/3                                 $ 317,953     $ 286,799        $ 102,898        $ 148,005        $ 244,341        $ 255,495     $ 256,987        $ 261,582
Beginning Daily Balance Total                               $ 1,781,113   $ 1,751,132      $ 1,568,814      $ 1,615,061      $ 1,716,018      $ 1,728,336   $ 1,730,653      $ 1,737,916

Revenue
   Cash Receipts                Prior Day Cash Sales        $     3,204   $       4,104    $       4,041    $      14,371    $       3,727    $     2,464   $       4,112    $       4,649
   Credit Card Receipts         2 Days Prior Credit Sales   $    15,943   $      15,513    $      18,360    $      80,954    $      26,765    $    17,956   $      19,966    $      20,493
   EZ Catering                                              $       273                                                                       $       606
   KiddoCatering                                                                                                                                            $         227
   Uber                                                                                                                      $        7,503
   WholeSomeFood
   CornerStone                                                                                                                                              $        1,094
   DoorDash                                                                                $      20,008                                                                     $      21,498
   Postmates                                                                                                                 $        2,325
   GrubHub                                                                                 $        8,612                                                                    $        8,667
   TapMango (Square)                                        $     3,071   $        3,153   $        4,019   $      17,120    $        5,933   $     3,331   $        3,139   $        4,116
   Miscellaneous Receipts       As Needed                                 $           65                    $         135

Total Revenue                                               $    22,491   $      22,835    $      55,039    $     112,581    $      46,253    $    24,358   $      28,538    $      59,422

A/P Checks
   Issued                                                                                  $         135    $          877   $         124                                   $      13,419
   Cleared                                                  $      -      $         -      $         135    $        1,099   $         124    $       -     $          -     $      13,419
   Outstanding                                              $      223    $         223    $         223    $          -     $         -      $       -     $          -     $         -

Distributions
    Restaurant Hourly Wages                                               $      94,010
    Restaurant Salary Wages                                               $      27,079
    S. Karfaridis Wages                                                   $       2,500
    M. Webb Wages                                                         $       1,500
    S. Bailey Wages                                                       $       2,500
    Est. Payroll Taxes & Fees                                             $      44,488
   Total Payroll                                                          $     172,078
   Facilities Rent                                          $     6,311
   Deferred Rent Agreements
   LQD Interest                                             $    21,982                                                                       $    21,982
   Gordon Foods                                                           $      22,138    $        8,146   $      10,032    $      30,360    $        58   $      20,752    $       8,501
   Sales Tax - Current                                      $    24,179   $      10,938                                                                                      $      10,938
   Sales Tax - Defer Agreement
   TapMango
   Comed
   Ameren
   People's Gas/Nicor
   Nipsco
   Republic/Groot
   Public Storage
   World Pay Monthly CC Fees
   ATT/Comcast
   NCR/Bank Fees
   GFC Leasing                                                                                                               $        2,935
   Vonage                                                                                                   $         492
   Constant Contact
   Network Solutions
   Serv Corp
   Miscellaneous Expense                                                                   $       511                       $       516                    $       523
Total Distributions                                         $    52,472   $ 205,154        $     8,791      $    11,623      $    33,935      $    22,040   $    21,275      $    32,858
Ending Balance                                              $ 1,751,132   $ 1,568,814      $ 1,615,061      $ 1,716,018      $ 1,728,336      $ 1,730,653   $ 1,737,916      $ 1,764,480
Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                          Document      Page 8 of 33




                             Exhibit D
  Case 21-04729         Doc 112     Filed 05/25/21 Entered 05/25/21 12:59:50             Desc Main
                                    Document      Page 9 of 33

Date Paid                        Payee                            Purpose               Amount
 4/30/2021   Alpha Baking Company                       Cost of Goods               $     13,046.44
  4/9/2021   Ameren IL                                  Electric                    $        478.34
 4/26/2021   API Plumbing                               Maintenance                 $        675.00
 4/15/2021   C150-II 709 S Main LLC                     Rent                        $      5,791.69
 4/15/2021   CH Retail Fund1/Chicago Lake Bluff LOTIV   Rent                        $      6,311.23
 4/26/2021   Champaign-Urbana Public Health District    Health Permit               $        420.00
 4/30/2021   Chowly                                     3rd Party POS Integration   $         53.70
 4/12/2021   City of Naperville Electric                Electric                    $        951.86
 4/20/2021   City of Naperville Sales Tax               Sales Tax                   $        768.06
 4/26/2021   CK Brush                                   Maintenance                 $        225.00
  4/9/2021   Comcast                                    Internet                    $        120.19
 4/26/2021   Comcast                                    Internet                    $        100.37
 4/21/2021   Comcast                                    Internet                    $        142.60
 4/23/2021   Comcast                                    Internet                    $        185.61
 4/13/2021   Comcast                                    Internet                    $         99.50
 4/26/2021   Comcast                                    Internet                    $        130.12
 4/15/2021   Dreamspace Munster, LLC                    Rent                        $      9,304.23
 4/15/2021   DTAT Enterprises, Inc                      Rent                        $      8,495.86
 4/26/2021   Dupage County Health Department            Health Permits              $        876.50
 4/15/2021   FW IL-Riverview Plaza, LLC                 Rent                        $      8,713.81
 4/25/2021   GFC Leasing WI                             POS Leases                  $      2,935.49
  4/9/2021   Gordon Food Service                        Cost of Goods               $    134,646.81
 4/13/2021   Gordon Food Service                        Cost of Goods               $      1,316.29
 4/15/2021   Gordon Food Service                        Cost of Goods               $     21,216.27
 4/16/2021   Gordon Food Service                        Cost of Goods               $      7,777.36
 4/19/2021   Gordon Food Service                        Cost of Goods               $     14,650.66
 4/20/2021   Gordon Food Service                        Cost of Goods               $     27,578.44
 4/22/2021   Gordon Food Service                        Cost of Goods               $     22,137.55
 4/23/2021   Gordon Food Service                        Cost of Goods               $      8,145.58
 4/26/2021   Gordon Food Service                        Cost of Goods               $     10,031.89
 4/27/2021   Gordon Food Service                        Cost of Goods               $     30,359.87
 4/28/2021   Gordon Food Service                        Cost of Goods               $         57.97
 4/29/2021   Gordon Food Service                        Cost of Goods               $     20,752.14
 4/30/2021   Gordon Food Service                        Cost of Goods               $      8,500.91
 4/30/2021   Illinois American Water                    Water Bill                  $        319.16
 4/12/2021   Illinois Department of Revenue             Sales Tax                   $      4,971.01
 4/15/2021   Illinois Department of Revenue             Sales Tax                   $     10,938.00
 4/19/2021   Illinois Department of Revenue             Sales Tax                   $      4,971.01
 4/20/2021   Illinois Department of Revenue             Sales Tax                   $     18,745.00
 4/22/2021   Illinois Department of Revenue             Sales Tax                   $     10,938.00
 4/30/2021   Illinois Department of Revenue             Sales Tax                   $     10,938.00
 4/23/2021   Indeed                                     Recruiting                  $        510.74
 4/27/2021   Indeed                                     Recruiting                  $        516.37
 4/29/2021   Indeed                                     Recruiting                  $        522.54
 4/20/2021   Indiana Department of Revenue              Sales Tax                   $      5,433.68
 4/15/2021   IRC Retail Centers                         Rent                        $      3,111.21
        Case 21-04729      Doc 112      Filed 05/25/21 Entered 05/25/21 12:59:50      Desc Main
                                        Document      Page 10 of 33

    4/9/2021   Landstrom Consulting, LLC               Bookeeping Services        $     7,500.00
   4/15/2021   Lederman San Rafael LLC                 Rent                       $     6,797.92
   4/16/2021   LQD                                     Loan Interest              $    21,981.94
   4/21/2021   LQD                                     Loan Interest              $    21,981.94
   4/28/2021   LQD                                     Loan Interest              $    21,981.94
   4/26/2021   Mahoney Environmental                   Grease Removal             $       168.00
   4/27/2021   Mattex Service Co, Inc                  Maintenance                $       123.59
   4/15/2021   Mept Stony Creek, LLC                   Rent                       $     6,699.09
   4/12/2021   NCR Corporation                         POS Fees                   $     1,957.00
   4/26/2021   Nipsco                                  Electric/Gas               $     1,124.49
   4/14/2021   Peoples Gas                             Gas                        $       993.82
    4/9/2021   Republic Services                       Trash Removal              $     1,906.23
    4/9/2021   Sysco                                   Cost of Goods              $       920.58
   4/15/2021   Sysco                                   Cost of Goods              $         7.07
   4/26/2021   Securitas Electronic Secruity Inc       Security                   $       114.00
   4/15/2021   Shops at Flint Creek Propco, LLC        Rent                       $     4,627.83
   4/26/2021   Square Toast                            POS Maitenance Fee         $     7,380.00
   4/26/2021   Staples Buisness Advantage              Chemical/Office Supplies   $     1,904.85
   4/26/2021   Stephanie Brooks                        Manual Payroll Check       $       660.45
   4/26/2021   Town of Munster                         Water Bill                 $       352.10
   4/26/2021   USCD                                    Sewer Bill                 $       510.48
   4/26/2021   Vonage Business                         Telephones                 $       492.29
   4/15/2021   Willow Festival Regency, LLC            Rent                       $     9,260.17
   4/15/2021   Willowbrook Town Center LLC             Rent                       $     7,290.26
   3/19/2021   Michaela Gurley                         Manual Payroll Check       $       222.80
    4/5/2021   Alsco-LSTL                              Apron/Towel Rental         $        67.44
    4/5/2021   Pinpoint Maintenance, Inc               Window Cleaning            $        35.00
    4/5/2021   Suburban Lock                           Security                   $        27.02
    4/5/2021   Rose Pest Solutions                     Pest Control               $        40.00
    4/5/2021   Culligan Water Conditioning             Water Softner Rental       $        30.00
    4/5/2021   Alsco                                   Apron/Towel Rental         $       197.74
   4/22/2021   Heartland Payroll Processing            Payroll                    $   172,077.26


Total                                                                             $   738,345.36
Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                          Document      Page 11 of 33




                              Exhibit E
                Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                          Document      Page 12 of 33

Voucher/Pmt #   Doc Type Document No.              Doc Date       Disc Date      Due Date     Current Period
ALPHA                    ALPHA BAKING COMPANY                                                 BLOOMINGTON, Entity #1
V-001-0012334   INV      210419116005                 4/26/2021      4/26/2021   6/25/2021    $                    133.92
V-001-0012344   INV      210419117002                 4/27/2021      4/27/2021   6/26/2021    $                    138.50
V-001-0012349   INV      210419119004                 4/29/2021      4/29/2021   6/28/2021    $                    141.94
V-001-0012350   CRM      210419119034                 4/29/2021      4/29/2021   6/28/2021    $                    (10.88)
V-002-0011910   INV      21001109901                   4/9/2021       4/9/2021    6/8/2021    $                    119.33
V-002-0011978   INV      210011117021                 4/27/2021      4/27/2021   6/26/2021    $                     96.72
V-002-0011979   INV      210011119025                 4/29/2021      4/29/2021   6/28/2021    $                    150.81
V-002-0011980   INV      210011120017                 4/30/2021      4/30/2021   6/29/2021    $                     95.87
V-002-0011985   INV      210011116022                 4/27/2021      4/27/2021   6/26/2021    $                     77.55
V-003-0013937   INV      210058099022                  4/9/2021       4/9/2021    6/8/2021    $                    118.47
V-003-0013989   INV      210058116023                 4/26/2021      4/26/2021   6/25/2021    $                    118.51
V-003-0013990   CRM      210058116039                 4/26/2021      4/26/2021   6/25/2021    $                      (2.33)
V-003-0013991   INV      210058117025                 4/27/2021      4/27/2021   6/26/2021    $                    143.08
V-003-0013992   INV      210058117041                 4/27/2021      4/27/2021   6/26/2021    $                       3.15
V-003-0014015   INV      210058119025                 4/29/2021      4/29/2021   6/28/2021    $                    116.18
V-003-0014017   INV      210058120019                 4/30/2021      4/30/2021   6/29/2021    $                    141.65
V-005-0012162   INV      210020117024                 4/27/2021      4/27/2021   6/26/2021    $                     89.28
V-005-0012173   INV      210020116027                 4/26/2021      4/26/2021   6/25/2021    $                     84.99
V-006-0011286   INV      210403116037                 4/26/2021      4/26/2021   6/25/2021    $                     42.64
V-006-0011287   INV      210403117035                 4/27/2021      4/27/2021   6/26/2021    $                     82.13
V-006-0011288   INV      210403119034                 4/29/2021      4/29/2021   6/28/2021    $                    119.33
V-007-0012019   INV      210401116014                 4/26/2021      4/26/2021   6/25/2021    $                    116.18
V-007-0012020   INV      210401117010                 4/27/2021      4/27/2021   6/26/2021    $                    161.11
V-007-0012051   INV      210401119018                 4/29/2021      4/29/2021   6/28/2021    $                    210.62
V-009-0010062   INV      210092099022                  4/9/2021       4/9/2021    6/8/2021    $                     61.81
V-009-0010105   INV      210092116023                 4/26/2021      4/26/2021   6/25/2021    $                     82.13
V-009-0010106   INV      2100921170206                4/27/2021      4/27/2021   6/26/2021    $                     82.13
V-009-0010135   INV      210092119027                 4/29/2021      4/29/2021   6/28/2021    $                     82.13
V-009-0010136   INV      21009210022                  4/30/2021      4/30/2021   6/29/2021    $                     81.27
V-011-0008892   INV      2102295117019                4/27/2021      4/27/2021   6/26/2021    $                     82.13
V-011-0008894   INV      210295119018                 4/29/2021      4/29/2021   6/28/2021    $                     74.40
V-013-0007992   INV      210226099021                  4/9/2021       4/9/2021    6/8/2021    $                     74.69
                Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                          Document      Page 13 of 33

V-013-0008037   CRM     210226116030                  4/26/2021      4/26/2021   6/25/2021    $            (3.15)
V-013-0008038   INV     210226116018                  4/26/2021      4/26/2021   6/25/2021    $            84.42
V-013-0008039   INV     210226117021                  4/27/2021      4/27/2021   6/26/2021    $           141.94
V-013-0008040   INV     210226119022                  4/29/2021      4/29/2021   6/28/2021    $            73.83
V-013-0008041   INV     210226120018                  4/30/2021      4/30/2021   6/29/2021    $            73.83
V-014-0007299   INV     210383099012                   4/9/2021       4/9/2021    6/8/2021    $            71.54
V-014-0007339   INV     210383117013                  4/27/2021      4/27/2021   6/26/2021    $           131.92
V-014-0007352   INV     210383119011                  4/29/2021      4/29/2021   6/28/2021    $            74.69
V-014-0007354   INV     210383120012                  4/30/2021      4/30/2021   6/29/2021    $            84.99
V-014-0007358   INV     210383116012                  4/26/2021      4/26/2021   6/25/2021    $            49.22
V-016-0005996   INV     210216099016                   4/9/2021       4/9/2021    6/8/2021    $           145.94
V-016-0006036   INV     210216119019                  4/29/2021      4/29/2021   6/28/2021    $           148.23
V-016-0006037   INV     210216117018                  4/27/2021      4/27/2021   6/26/2021    $           148.23
V-017-0006540   INV     210251099014                   4/9/2021       4/9/2021    6/8/2021    $           133.92
V-017-0006587   INV     210251116024                  4/26/2021      4/26/2021   6/25/2021    $            58.38
V-017-0006588   INV     210251117020                  4/27/2021      4/27/2021   6/26/2021    $           141.65
V-017-0006607   INV     210251119022                  4/29/2021      4/29/2021   6/28/2021    $            59.81
V-017-0006608   INV     210251120013                  4/30/2021      4/30/2021   6/29/2021    $           140.22

Vendor Total:                                                     Aged Totals:                $          4,869.05

ALSCO                   Alsco
V-002-0011913   INV     LCHI1494433                   4/13/2021      4/13/2021    5/5/2021    $            59.60
V-002-0011965   INV     LCHI1497656                   4/27/2021      4/27/2021    5/5/2021    $            58.30
V-002-0011991   INV     LCHI1496031                   4/20/2021      4/20/2021    5/5/2021    $            58.30
V-003-0013948   INV     LCHI1494417                   4/13/2021      4/13/2021    5/5/2021    $            69.39
V-003-0014035   INV     LCHI1496014                   4/20/2021      4/20/2021    5/5/2021    $            68.19
V-003-0014036   INV     LCHI1497640                   4/27/2021      4/27/2021    5/5/2021    $            68.19
V-005-0012125   INV     LCHI1493701                    4/9/2021       4/9/2021    5/5/2021    $            52.42
V-005-0012144   INV     LCHI1495292                   4/16/2021      4/16/2021    5/5/2021    $            49.15
V-005-0012189   INV     LCHI1496939                   4/23/2021      4/23/2021    5/5/2021    $            49.15
V-005-0012190   INV     LCHI1498529                   4/30/2021      4/30/2021    5/5/2021    $            49.15
V-009-0010074   INV     LCHI1494013                   4/12/2021      4/12/2021    5/5/2021    $            54.53
V-009-0010151   INV     LCHI1495618                   4/19/2021      4/19/2021    5/5/2021    $            53.29
                Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50          Desc Main
                                          Document      Page 14 of 33

V-009-0010152   INV     LCHI1497247                   4/26/2021      4/26/2021   5/5/2021    $            53.29
V-011-0008840   INV     LCHI1494452                   4/13/2021      4/13/2021   5/5/2021    $            45.16
V-011-0008904   INV     LCHI1496051                   4/20/2021      4/20/2021   5/5/2021    $            44.19
V-011-0008905   INV     LCHI1497675                   4/27/2021      4/27/2021   5/5/2021    $            44.19
V-013-0007996   INV     LCHI1494263                   4/13/2021      4/13/2021   5/5/2021    $            53.27
V-013-0008050   INV     LCHI1495855                   4/20/2021      4/20/2021   5/5/2021    $            64.18
V-013-0008051   INV     LCHI1497489                   4/27/2021      4/27/2021   5/5/2021    $            52.30
V-014-0007309   INV     LCHI1494688                   4/15/2021      4/15/2021   5/5/2021    $            66.65
V-014-0007367   INV     LCHI1496293                   4/22/2021      4/22/2021   5/5/2021    $            66.65
V-014-0007368   INV     LCHI1497901                   4/29/2021      4/29/2021   5/5/2021    $            66.65
V-016-0006000   INV     LCHI1493913                   4/12/2021      4/12/2021   5/5/2021    $            42.66
V-016-0006046   INV     LCHI1495520                   4/19/2021      4/19/2021   5/5/2021    $            41.75
V-016-0006047   INV     LCHI1497145                   4/26/2021      4/26/2021   5/5/2021    $            41.55
V-017-0006549   INV     LCHI1493388                    4/9/2021       4/9/2021   5/5/2021    $            55.75
V-017-0006570   INV     LCHI1494999                   4/16/2021      4/16/2021   5/5/2021    $            53.40
V-017-0006631   INV     LCHI1496630                   4/23/2021      4/23/2021   5/5/2021    $            53.40
V-017-0006632   INV     LCHI1498225                   4/30/2021      4/30/2021   5/5/2021    $            53.40

Vendor Total:                                                     Aged Totals:               $          1,588.10

ALSCOLSTL               Alsco-LSTL
V-001-0012301   INV     LSTL538736                    4/14/2021      4/14/2021   5/5/2021    $            77.19
V-001-0012365   INV     LSTL539424                    4/21/2021      4/21/2021   5/5/2021    $            77.19
V-001-0012366   INV     LSTL540103                    4/28/2021      4/28/2021   5/5/2021    $            77.19
V-006-0011246   INV     LSTL538737                    4/14/2021      4/14/2021   5/5/2021    $            69.10
V-006-0011299   INV     LSTL539425                    4/21/2021      4/21/2021   5/5/2021    $            69.10
V-006-0011300   INV     LSTL540104                    4/28/2021      4/28/2021   5/5/2021    $            64.75
V-007-0011973   INV     LSTL538440                    4/12/2021      4/12/2021   5/5/2021    $            73.59
V-007-0012075   INV     LSTL539125                    4/19/2021      4/19/2021   5/5/2021    $            73.59
V-007-0012076   INV     LSTL539811                    4/26/2021      4/26/2021   5/5/2021    $            73.59

Vendor Total:                                                     Aged Totals:               $           655.29

CKBRUSH
                Case 21-04729     Doc 112      Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                               Document      Page 15 of 33

V-006-0011305   INV     28956                              4/27/2021      4/27/2021 5/27/2021 $               120.00

Vendor Total:                                                          Aged Totals:                $          120.00

CONVERGENT              Convergent Retail Solutions
V-002-0011946   INV     5251                               4/21/2021      4/21/2021    5/6/2021 $             531.46

Vendor Total:                                                          Aged Totals:                $          531.46
COZZINI                 Cozzini Bros., Inc
V-001-0012316   INV     C9256949                           4/12/2021      4/12/2021   5/10/2021    $           15.00
V-001-0012356   INV     C9315267                           4/26/2021      4/26/2021   5/10/2021    $           15.00
V-002-0011948   INV     C9299854                           4/22/2021      4/22/2021   5/10/2021    $           15.00
V-003-0013986   INV     C9299853                           4/21/2021      4/21/2021   5/10/2021    $           15.00
V-005-0012224   INV     C9299856                           4/22/2021      4/22/2021   5/10/2021    $           15.00
V-006-0011294   INV     C9315265                           4/26/2021      4/26/2021   5/10/2021    $           15.00
V-007-0011990   INV     C9283070                           4/21/2021      4/21/2021   5/10/2021    $           15.00
V-009-0010102   INV     C9299855                           4/21/2021      4/21/2021   5/10/2021    $           15.00
V-011-0008868   INV     C9283071                           4/19/2021      4/19/2021   5/10/2021    $           15.00
V-013-0008088   INV     C9328771                           4/28/2021      4/28/2021   5/10/2021    $           15.00
V-014-0007353   INV     C9299857                           4/21/2021      4/21/2021   5/10/2021    $           15.00
V-017-0006555   INV     C9256951                           4/12/2021      4/12/2021   5/10/2021    $           15.00
V-017-0006671   INV     C9315266                           4/26/2021      4/26/2021   5/10/2021    $           15.00

Vendor Total:                                                          Aged Totals:                $          195.00

CULCRYSLK               Culligan of Crystal Lake
V-013-0008073   INV     0120171                            4/30/2021      4/30/2021 5/15/2021 $                70.50

Vendor Total:                                                          Aged Totals:                $           70.50

FOX VALLEY              FOX VALLEY FIRE AND SAFETY
V-009-0010143   INV     IN00431634                         4/27/2021      4/27/2021 5/12/2021 $               240.00
V-011-0008895   INV     IN00431411                         4/26/2021      4/26/2021 5/11/2021 $               987.78
                Case 21-04729   Doc 112       Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                              Document      Page 16 of 33

Vendor Total:                                                         Aged Totals:                $           1,227.78

GETZ                    Getz Fire Equipment
V-001-0012328   INV     I6-576643                         4/16/2021      4/16/2021 5/16/2021 $                 252.81

Vendor Total:                                                         Aged Totals:                $            252.81

GFS                     Gordon Food Service
V-001-0012352   INV     209683260                         4/30/2021      4/30/2021   5/15/2021    $              64.13
V-001-0012353   INV     209683259                         4/30/2021      4/30/2021   5/15/2021    $              66.06
V-001-0012354   INV     209683256                         4/30/2021      4/30/2021   5/15/2021    $           3,668.43
V-002-0011964   INV     209629411                         4/28/2021      4/28/2021   5/13/2021    $           1,414.82
V-002-0011968   INV     209677279                         4/29/2021      4/29/2021   5/14/2021    $              42.71
V-002-0011974   INV     209681751                         4/30/2021      4/30/2021   5/15/2021    $              78.34
V-002-0011975   INV     209692136                         4/30/2021      4/30/2021   5/15/2021    $           5,838.82
V-003-0014014   INV     209643788                         4/28/2021      4/28/2021   5/13/2021    $           2,472.29
V-003-0014022   INV     209714188                         4/30/2021      4/30/2021   5/15/2021    $           3,067.65
V-005-0012181   INV     209686952                         4/30/2021      4/30/2021   5/15/2021    $           2,494.43
V-006-0011291   INV     209697962                         4/30/2021      4/30/2021   5/15/2021    $           1,893.27
V-007-0012049   INV     209632608                         4/28/2021      4/28/2021   5/13/2021    $             173.07
V-007-0012050   INV     209632607                         4/28/2021      4/28/2021   5/13/2021    $           1,517.01
V-007-0012056   INV     209695449                         4/30/2021      4/30/2021   5/15/2021    $              33.40
V-007-0012057   INV     209711298                         4/30/2021      4/30/2021   5/15/2021    $              41.64
V-007-0012058   INV     209681677                         4/30/2021      4/30/2021   5/15/2021    $              78.34
V-007-0012059   INV     209695447                         4/30/2021      4/30/2021   5/15/2021    $           3,727.23
V-009-0010134   INV     209677278                         4/29/2021      4/29/2021   5/14/2021    $              94.72
V-009-0010141   INV     209706852                         4/30/2021      4/30/2021   5/15/2021    $           2,833.23
V-013-0008043   INV     209705353                         4/30/2021      4/30/2021   5/15/2021    $           3,751.11
V-014-0007359   INV     209683351                         4/30/2021      4/30/2021   5/15/2021    $           3,499.15
V-016-0006032   INV     209650857                         4/29/2021      4/29/2021   5/14/2021    $           2,173.80
V-017-0006599   INV     209643085                         4/28/2021      4/28/2021   5/13/2021    $           2,181.00
V-017-0006616   INV     209709663                         4/30/2021      4/30/2021   5/15/2021    $           1,897.05

Vendor Total:                                                         Aged Totals:                $          43,101.70
                Case 21-04729    Doc 112         Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                                 Document      Page 17 of 33


LANDSTROM               Landstrom Consulting, LLC
V-999-0009592   INV     April 2021 Fee                       4/30/2021      4/30/2021 4/30/2021 $               2,500.00

Vendor Total:                                                            Aged Totals:                $          2,500.00

MAHENVIRON              Mahoney Environmental
V-013-0008072   INV     0014309386                           4/30/2021      4/30/2021 4/30/2021 $                168.00

Vendor Total:                                                            Aged Totals:                $           168.00

MAHONEY                 MAHONEY ENVIRONMENTAL
V-017-0006600   INV     0014297381                           4/19/2021      4/19/2021 4/19/2021 $                240.00

Vendor Total:                                                            Aged Totals:                $           240.00

MATTEX                  Mattex Service Co, Inc
V-007-0012017   INV     1901606                              4/23/2021      4/23/2021    5/8/2021 $             1,685.00

Vendor Total:                                                            Aged Totals:                $          1,685.00

MVPLUMBING              Military Veteran Plumbing LLC
V-011-0008854   INV     002232                               4/13/2021      4/13/2021 5/13/2021 $                276.00

Vendor Total:                                                            Aged Totals:                $           276.00

NICOR GAS               NICOR GAS
V-001-0012315   INV     BL Apr. 21                           4/28/2021      4/28/2021   4/28/2021    $           676.88
V-002-0011932   INV     NV Apr. 21                           4/28/2021      4/28/2021   4/28/2021    $           508.22
V-005-0012198   INV     WB Apr. 21                           4/27/2021      4/27/2021   4/27/2021    $           383.95
V-011-0008913   INV     FF Apr. 21                           4/21/2021      4/21/2021   4/21/2021    $           318.72
V-013-0008062   INV     BAR Apr. 21                          4/27/2021      4/27/2021   4/27/2021    $           292.33
V-016-0006054   INV     OL Apr. 21                           4/19/2021      4/19/2021   4/19/2021    $           637.73
                Case 21-04729     Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                            Document      Page 18 of 33

Vendor Total:                                                       Aged Totals:                $          2,817.83

NPN                     NPN 360
V-007-0011991   INV     0658024                         4/13/2021      4/13/2021   5/13/2021    $           116.79
V-009-0010075   INV     0657911                         4/12/2021      4/12/2021   5/12/2021    $           329.04
V-011-0008841   INV     0657913                         4/12/2021      4/12/2021   5/12/2021    $           139.67
V-013-0007997   INV     0657910                         4/12/2021      4/12/2021   5/12/2021    $           187.64
V-016-0006012   INV     0658025                         4/13/2021      4/13/2021   5/13/2021    $           108.16
V-999-0009580   INV     0658392                         4/19/2021      4/19/2021   5/19/2021    $           171.18

Vendor Total:                                                       Aged Totals:                $          1,052.48

NUCO2LLC                NuCo2 LLC
V-002-0011994   INV     66268234                        4/19/2021      4/19/2021    5/5/2021    $            93.08
V-003-0014039   INV     66300258                        4/28/2021      4/28/2021    5/5/2021    $           118.71
V-005-0012192   INV     66268235                        4/19/2021      4/19/2021    5/5/2021    $           110.44
V-005-0012193   INV     66356627                        4/30/2021      4/30/2021    5/5/2021    $            89.36
V-006-0011302   INV     66293715                        4/26/2021      4/26/2021    5/5/2021    $           222.47
V-007-0012079   INV     66255319                        4/15/2021      4/15/2021    5/5/2021    $           157.98
V-013-0008055   INV     66264497                        4/19/2021      4/19/2021    5/5/2021    $           199.00
V-013-0008059   INV     66269730                        4/19/2021      4/19/2021    5/5/2021    $           256.78
V-016-0006050   INV     66259676                        4/16/2021      4/16/2021    5/5/2021    $           153.02

Vendor Total:                                                       Aged Totals:                $          1,400.84

PCM                     PCM TECHNOLOGIES
V-999-0009601   INV     258253                          4/10/2021      4/10/2021 4/10/2021 $                515.76

Vendor Total:                                                       Aged Totals:                $           515.76

PEST                    AMERICAN PEST CONTROL
V-001-0012288   INV     293950                           4/9/2021       4/9/2021 4/24/2021 $                 35.00
V-006-0011235   INV     293952                           4/9/2021       4/9/2021 4/24/2021 $                 35.00
                Case 21-04729    Doc 112      Filed 05/25/21 Entered 05/25/21 12:59:50           Desc Main
                                              Document      Page 19 of 33

Vendor Total:                                                         Aged Totals:                $           70.00

PINPOINT                Pinpoint Maintenance Inc.
V-002-0011917   INV     5438                              4/14/2021      4/14/2021   4/29/2021    $           35.00
V-002-0011966   INV     6051                              4/28/2021      4/28/2021   5/13/2021    $           60.00
V-003-0014042   INV     6698                              4/19/2021      4/19/2021    5/4/2021    $           25.00
V-005-0012159   INV     7074                              4/21/2021      4/21/2021    5/6/2021    $           45.00
V-009-0010077   INV     5361                              4/12/2021      4/12/2021   4/27/2021    $           35.00
V-011-0008853   INV     6493                              4/13/2021      4/13/2021   4/28/2021    $           25.00
V-013-0008057   INV     6694                              4/19/2021      4/19/2021    5/4/2021    $           25.00
V-016-0006052   INV     6490                              4/13/2021      4/13/2021   4/28/2021    $           50.00
V-016-0006053   INV     7093                              4/27/2021      4/27/2021   5/12/2021    $           25.00
V-017-0006585   INV     6688                              4/19/2021      4/19/2021    5/4/2021    $           25.00

Vendor Total:                                                         Aged Totals:                $          350.00

ROSEBN                  Rose Pest Solutions
V-003-0013956   INV     2745015                           4/16/2021      4/16/2021 5/10/2021 $                40.00
V-013-0008016   INV     2745152                           4/14/2021      4/14/2021 5/10/2021 $                39.00
V-017-0006604   INV     2745324                           4/23/2021      4/23/2021 5/10/2021 $                40.00

Vendor Total:                                                         Aged Totals:                $          119.00

ROSEPEST                Rose Pest Solutions
V-002-0011933   INV     2739656                           4/13/2021      4/13/2021 5/10/2021 $                38.00

Vendor Total:                                                         Aged Totals:                $           38.00

ROSEPESTHAM             Rose Pest Solutions Hammond
V-011-0008855   INV     2750077                           4/12/2021      4/12/2021 5/10/2021 $                39.00
V-014-0007355   INV     2749414                           4/29/2021      4/29/2021 5/10/2021 $                52.00
V-016-0006034   INV     2750089                           4/23/2021      4/23/2021 5/10/2021 $                39.00

Vendor Total:                                                         Aged Totals:                $          130.00
                Case 21-04729    Doc 112       Filed 05/25/21 Entered 05/25/21 12:59:50          Desc Main
                                               Document      Page 20 of 33


SAFEDINING              The SafeDining Association
V-009-0010138   INV     32779                              4/21/2021      4/21/2021 4/21/2021 $               184.00
V-009-0010139   INV     32744                              4/19/2021      4/19/2021 4/19/2021 $               184.00
V-013-0008033   INV     32782                              4/27/2021      4/27/2021 4/27/2021 $               129.00

Vendor Total:                                                          Aged Totals:               $           497.00

SHOES                   Shoes For Crews, LLC
V-005-0012171   INV     42826948                           4/19/2021      4/19/2021 5/15/2021 $                93.46
V-007-0012053   INV     42814008                           4/19/2021      4/19/2021 5/10/2021 $                56.27
V-017-0006603   INV     42852506                           4/21/2021      4/21/2021 5/21/2021 $                72.21

Vendor Total:                                                          Aged Totals:               $           221.94

STAPLESDALL             STAPLES BUSINESS ADVANTAGE
V-001-0012310   INV     3474850387                         4/17/2021      4/17/2021   5/2/2021    $           518.88
V-002-0011972   INV     3475317602                         4/24/2021      4/24/2021   5/9/2021    $           118.28
V-003-0014019   INV     3475317611                         4/24/2021      4/24/2021   5/9/2021    $           342.22
V-003-0014020   INV     3475317622                         4/24/2021      4/24/2021   5/9/2021    $            27.43
V-005-0012139   INV     3474850384                         4/17/2021      4/17/2021   5/2/2021    $           100.45
V-005-0012177   INV     3475317599                         4/24/2021      4/24/2021   5/9/2021    $            10.71
V-006-0011256   INV     3474850388                         4/17/2021      4/17/2021   5/2/2021    $           352.27
V-006-0011285   INV     3475317596                         4/24/2021      4/24/2021   5/9/2021    $            25.46
V-007-0011984   INV     3474850382                         4/17/2021      4/17/2021   5/2/2021    $            89.22
V-007-0012054   INV     3475317650                         4/24/2021      4/24/2021   5/9/2021    $           293.97
V-011-0008896   INV     3475317626                         4/24/2021      4/24/2021   5/9/2021    $            96.36
V-011-0008897   INV     3475317632                         4/24/2021      4/24/2021   5/9/2021    $            22.94
V-011-0008898   INV     3475317638                         4/24/2021      4/24/2021   5/9/2021    $            18.05
V-013-0008013   INV     3474850375                         4/17/2021      4/17/2021   5/2/2021    $            22.83
V-014-0007356   INV     3475317644                         4/24/2021      4/24/2021   5/9/2021    $             6.94
V-017-0006568   INV     3474850379                         4/17/2021      4/17/2021   5/2/2021    $           117.77

Vendor Total:                                                          Aged Totals:               $          2,163.78
                         Case 21-04729        Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                                                        Document      Page 21 of 33


Illinois Department of Revenue(April Sales Taxes)                                                   $           24,186.00
Indiana Department of Revenue(April Sales Taxes)                                                    $            5,833.75
City of Bloomington(April Sales Taxes)                                                              $            2,494.15
City of Naperville(April Sales Taxes)                                                               $              956.19
Village of Willowbrook(April Sales Taxes)                                                           $              527.43
City of Champaign(April Sales Taxes)                                                                $            3,068.89
City of Chicago(April Sales Taxes)                                                                  $              251.38
Village of Lake Bluff(April Sales Taxes)                                                            $              785.69

Total Sales Taxes                                                                                   $           38,103.48

Total Accounts Payable                                                                              $          104,960.80
Case 21-04729   Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                          Document      Page 22 of 33




                              Exhibit F
    Case 21-04729    Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main
                               Document      Page 23 of 33

       Vendor Name     Amount Owed    Date Owed
Doordash               $ 13,692.60        5/7/2021
Uber                   $ 5,153.44         5/4/2021
Postmates              $ 2,301.93         5/4/2021
Grubhub                $ 8,824.27         5/7/2021
Total                  $ 29,972.24
                 Case 21-04729
5/24/2021 11:57 AM
                                           Doc 112       Filed 05/25/21 Entered 05/25/21 12:59:50                Desc Main   Page 1 of 1
                                                            Reconciliation
                                                         Document      PageReport
                                                                            24 of 33
                                                     BLOOMINGTON, Entity #1
                                   Bank Code: 001 SWEEP, 001 SWEEP   Statement Date: 05/05/2021

                                                             Reconciliation Summary

                             Statement Balance                                                      $1,484,165.62

                          + Outstanding Debits                                         3 Items          $3,785.29
                                 JE        TOTALS                      $3,785.29

                          - Outstanding Credits                                         Items



                          = Adjusted Statement Balance                                              $1,487,950.91

                          - Book Balance                                                            $1,487,950.91

                          = Difference                                                                        $0.00


Date               Type               Number             Description                                        Cleared              Amount
Cleared Credits
05/03/2021         JE                 GJ-001-0006586     bank fees                                               P    B           -75.32
                                                                                                                      L
Total Cleared Credits                                                                             1 Items                         -75.32
Cleared Debits
04/27/2021         CSH                DSR-006-20210427                                                           P    B           141.82
04/28/2021         CSH                DSR-001-20210428                                                           P    L
                                                                                                                      B           411.49
04/28/2021         CSH                DSR-006-20210428                                                           P    L
                                                                                                                      B           350.16
04/28/2021         CSH                DSR-007-20210428                                                           P    L
                                                                                                                      B           444.79
04/29/2021         CSH                DSR-001-20210429                                                           P    L
                                                                                                                      B           581.46
04/29/2021         CSH                DSR-006-20210429                                                           P    L
                                                                                                                      B           169.06
04/29/2021         CSH                DSR-007-20210429                                                           P    L
                                                                                                                      B           740.41
04/29/2021         JE                 GJ-001-0006587     cornerstone                                             P    L
                                                                                                                      B         1,093.50
04/29/2021         JE                 GJ-001-0006588     kiddos                                                  P    L
                                                                                                                      B           226.50
04/30/2021         CSH                DSR-001-20210430                                                           P    L
                                                                                                                      B           525.00
04/30/2021         CSH                DSR-006-20210430                                                           P    L
                                                                                                                      B           248.53
04/30/2021         CSH                DSR-007-20210430                                                           P    L
                                                                                                                      B           791.78
05/01/2021         CSH                DSR-001-20210501                                                           P    L
                                                                                                                      B           417.03
05/01/2021         CSH                DSR-006-20210501                                                           P    L
                                                                                                                      B           203.59
05/01/2021         CSH                DSR-007-20210501                                                           P    L
                                                                                                                      B           718.77
05/02/2021         CSH                DSR-001-20210502                                                           P    L
                                                                                                                      B           379.38
05/02/2021         CSH                DSR-006-20210502                                                           P    L
                                                                                                                      B           159.67
05/02/2021         CSH                DSR-007-20210502                                                           P    L
                                                                                                                      B           711.48
05/03/2021         CSH                DSR-001-20210503                                                           P    L
                                                                                                                      B           402.47
05/03/2021         CSH                DSR-006-20210503                                                           P    L
                                                                                                                      B           162.73
05/03/2021         CSH                DSR-007-20210503                                                           P    L
                                                                                                                      B           616.32
05/04/2021         CSH                DSR-001-20210504                                                           P    L
                                                                                                                      B           519.95
05/04/2021         CSH                DSR-007-20210504                                                           P    L
                                                                                                                      B           558.29
                                                                                                                      L
Total Cleared Debits                                                                             23 Items                      10,574.18

Total Cleared Transactions                                                                       24 Items                      10,498.86
Uncleared Debits
09/01/2020         JE                 GJ-999-0007402     CSM Rebate                                                   B         1,771.29
01/24/2021         JE                 GJ-999-0008238     crave check for office rent                                  L
                                                                                                                      B         1,825.00
04/28/2021         JE                 GJ-999-0008599     move MH deposit check                                        L
                                                                                                                      B           189.00
                                                                                                                      L
Total Uncleared Debits                                                                            3 Items                       3,785.29

Total Uncleared Transactions                                                                      3 Items                       3,785.29


27 total records
              Case 21-04729
5/24/2021 11:54 AM
                                          Doc 112       Filed 05/25/21 Entered 05/25/21 12:59:50        Desc Main   Page 1 of 9
                                                           Reconciliation
                                                        Document      PageReport
                                                                           25 of 33
                                            Corporate - POST PETITION, Entity #999
                            Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                            Reconciliation Summary

                          Statement Balance                                                    $286,654.91

                         + Outstanding Debits                                       81 Items    $68,741.99
                               DEP        TOTALS                      $10,979.56
                               JE         TOTALS                        $831.76
                               CSH        TOTALS                       $5,322.44
                               TAP        TOTALS                      $11,235.12
                               VMD        TOTALS                      $40,373.11

                         - Outstanding Credits                                      43 Items   ($25,152.52)
                               CHK        TOTALS                  ($23,953.89)
                               EFT        TOTALS                     ($558.70)
                               JE         TOTALS                     ($639.93)

                         = Adjusted Statement Balance                                          $330,244.38

                         - Book Balance                                                        $330,244.38

                         = Difference                                                                $0.00


Date              Type               Number             Description                               Cleared               Amount
Cleared Credits
04/04/2021        EFT                C-006-0000228      Comcast Cable                                   P     C         -185.61
04/25/2021        EFT                C-999-0001019      GFC Leasing WI                                  P     o
                                                                                                              C       -2,935.49
04/25/2021        JE                 GJ-001-0006578     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -27.39
04/25/2021        JE                 GJ-002-0004904     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -15.10
04/25/2021        JE                 GJ-003-0005234     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -39.29
04/25/2021        JE                 GJ-005-0004649     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -30.52
04/25/2021        JE                 GJ-006-0003630     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -16.00
04/25/2021        JE                 GJ-007-0004306     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -15.39
04/25/2021        JE                 GJ-009-0003110     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -16.92
04/25/2021        JE                 GJ-011-0003036     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -17.52
04/25/2021        JE                 GJ-013-0002827     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -23.84
04/25/2021        JE                 GJ-014-0002429     Square Fees and Tips 4.25                       P     o
                                                                                                              C           -11.42
04/25/2021        JE                 GJ-016-0002244     Square Fees and Tips 4.25                       P     o
                                                                                                              C          -16.06
04/25/2021        JE                 GJ-017-0002486     Square Fees and Tips 4.25                       P     o
                                                                                                              C            -7.78
04/25/2021        JE                 GJ-999-0008653     Fix TapMango 4.25                               P     o
                                                                                                              C            -5.44
04/25/2021        JE                 GJ-999-0008653     Fix TapMango 4.25                               P     o
                                                                                                              C          -86.85
04/25/2021        JE                 GJ-999-0008653     Fix TapMango 4.25                               P     o
                                                                                                              C          -20.08
04/26/2021        JE                 GJ-001-0006577     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -20.18
04/26/2021        JE                 GJ-002-0004902     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -0.90
04/26/2021        JE                 GJ-002-0004902     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -17.22
04/26/2021        JE                 GJ-003-0005236     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -13.40
04/26/2021        JE                 GJ-005-0004652     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -8.75
04/26/2021        JE                 GJ-006-0003629     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -7.59
04/26/2021        JE                 GJ-007-0004305     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -10.61
04/26/2021        JE                 GJ-009-0003109     Square Fees and Tips 4.26                       P     o
                                                                                                              C           -11.78
04/26/2021        JE                 GJ-011-0003039     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -3.53
04/26/2021        JE                 GJ-013-0002824     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -10.81
04/26/2021        JE                 GJ-014-0002428     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -7.04
04/26/2021        JE                 GJ-016-0002243     Square Fees and Tips 4.26                       P     o
                                                                                                              C          -14.94
04/26/2021        JE                 GJ-017-0002485     Square Fees and Tips 4.26                       P     o
                                                                                                              C            -5.61
04/26/2021        JE                 GJ-999-0008654     Fix TapMango 4.26                               P     o
                                                                                                              C            -1.19
04/26/2021        JE                 GJ-999-0008654     Fix TapMango 4.26                               P     o
                                                                                                              C            -2.27
04/26/2021        JE                 GJ-999-0008654     Fix TapMango 4.26                               P     o
                                                                                                              C          -25.00
04/27/2021        EFT                C-007-0000229      Mattex Service Co, Inc                          P     o
                                                                                                              C         -123.59
04/27/2021        EFT                C-999-0001025      Indeed                                          P     o
                                                                                                              C         -516.37
04/27/2021        EFT                GFS                Gordon Food Service                             P     o
                                                                                                              C       -2,825.62
04/27/2021        EFT                GFS                Gordon Food Service                             P     o
                                                                                                              C       -3,667.50
04/27/2021        EFT                GFS                Gordon Food Service                             P     o
                                                                                                              C       -2,772.38
04/27/2021        EFT                GFS                Gordon Food Service                             P     o
                                                                                                              C       -1,916.21
04/27/2021        EFT                GFS                Gordon Food Service                             P     o
                                                                                                              C       -2,452.24
                                                                                                              o
              Case 21-04729
5/24/2021 11:54 AM
                                  Doc 112      Filed 05/25/21 Entered 05/25/21 12:59:50    Desc Main   Page 2 of 9
                                                  Reconciliation
                                               Document      PageReport
                                                                  26 of 33
                                         Corporate - POST PETITION, Entity #999
                         Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                 Cleared Transaction Detail


Date              Type        Number           Description                            Cleared              Amount
Cleared Credits
04/27/2021        EFT         GFS              Gordon Food Service                         P    C        -2,368.66
04/27/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,746.97
04/27/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -3,327.18
04/27/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,802.89
04/27/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,904.36
04/27/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,575.86
04/27/2021        JE          GJ-001-0006575   Square Fees and Tips 4.27                   P    o
                                                                                                C           -19.84
04/27/2021        JE          GJ-002-0004901   Square Fees and Tips 4.27                   P    o
                                                                                                C             -9.38
04/27/2021        JE          GJ-003-0005233   Square Fees and Tips 4.27                   P    o
                                                                                                C             -0.25
04/27/2021        JE          GJ-003-0005233   Square Fees and Tips 4.27                   P    o
                                                                                                C           -18.35
04/27/2021        JE          GJ-005-0004650   Square Fees and Tips 4.27                   P    o
                                                                                                C           -16.17
04/27/2021        JE          GJ-006-0003628   Square Fees and Tips 4.27                   P    o
                                                                                                C            -11.55
04/27/2021        JE          GJ-007-0004304   Square Fees and Tips 4.27                   P    o
                                                                                                C             -5.81
04/27/2021        JE          GJ-009-0003108   Square Fees and Tips 4.27                   P    o
                                                                                                C             -5.63
04/27/2021        JE          GJ-011-0003037   Square Fees and Tips 4.27                   P    o
                                                                                                C             -5.36
04/27/2021        JE          GJ-013-0002826   Square Fees and Tips 4.27                   P    o
                                                                                                C           -15.29
04/27/2021        JE          GJ-014-0002426   Square Fees and Tips 4.27                   P    o
                                                                                                C             -2.80
04/27/2021        JE          GJ-014-0002426   Square Fees and Tips 4.27                   P    o
                                                                                                C             -9.45
04/27/2021        JE          GJ-016-0002242   Square Fees and Tips 4.27                   P    o
                                                                                                C             -4.54
04/27/2021        JE          GJ-017-0002483   Square Fees and Tips 4.27                   P    o
                                                                                                C             -9.44
04/27/2021        JE          GJ-999-0008655   Fix TapMango 4.27                           P    o
                                                                                                C           -12.84
04/27/2021        JE          GJ-999-0008655   Fix TapMango 4.27                           P    o
                                                                                                C           -28.30
04/27/2021        JE          GJ-999-0008655   Fix TapMango 4.27                           P    o
                                                                                                C             -0.83
04/27/2021        JE          GJ-999-0008655   Fix TapMango 4.27                           P    o
                                                                                                C             -7.47
04/27/2021        JE          GJ-999-0008655   Fix TapMango 4.27                           P    o
                                                                                                C           -23.53
04/28/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C           -57.97
04/28/2021        JE          GJ-001-0006576   Square Fees and Tips 4.28                   P    o
                                                                                                C           -16.62
04/28/2021        JE          GJ-002-0004903   Square Fees and Tips 4.28                   P    o
                                                                                                C           -16.15
04/28/2021        JE          GJ-003-0005235   Square Fees and Tips 4.28                   P    o
                                                                                                C           -22.31
04/28/2021        JE          GJ-005-0004651   Square Fees and Tips 4.28                   P    o
                                                                                                C           -10.68
04/28/2021        JE          GJ-006-0003627   Square Fees and Tips 4.28                   P    o
                                                                                                C           -14.10
04/28/2021        JE          GJ-007-0004303   Square Fees and Tips 4.28                   P    o
                                                                                                C           -16.99
04/28/2021        JE          GJ-009-0003107   Square Fees and Tips 4.28                   P    o
                                                                                                C           -16.21
04/28/2021        JE          GJ-011-0003038   Square Fees and Tips 4.28                   P    o
                                                                                                C             -8.39
04/28/2021        JE          GJ-013-0002825   Square Fees and Tips 4.28                   P    o
                                                                                                C           -12.64
04/28/2021        JE          GJ-014-0002427   Square Fees and Tips 4.28                   P    o
                                                                                                C           -20.03
04/28/2021        JE          GJ-016-0002241   Square Fees and Tips 4.28                   P    o
                                                                                                C             -6.27
04/28/2021        JE          GJ-017-0002484   Square Fees and Tips 4.28                   P    o
                                                                                                C             -9.79
04/28/2021        JE          GJ-999-0008609   LQD P5W2                                    P    o
                                                                                                C       -21,981.94
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C             -0.56
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C             -2.97
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C           -23.29
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C           -25.44
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C             -1.28
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C           -29.75
04/28/2021        JE          GJ-999-0008656   Fix TapMango 4.28                           P    o
                                                                                                C             -7.74
04/28/2021        JE          GJ-999-0008657   LB WorldPay Rec 4.28                        P    o
                                                                                                C             -8.75
04/29/2021        EFT         C-999-0001026    Indeed                                      P    o
                                                                                                C          -522.54
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -1,783.38
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,988.89
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,912.98
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -3,236.09
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,402.06
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -1,998.61
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -1,245.21
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -2,499.09
04/29/2021        EFT         GFS              Gordon Food Service                         P    o
                                                                                                C        -1,685.83
04/29/2021        JE          GJ-999-0008658   NL WorldPay Rec 4.29                        P    o
                                                                                                C           -30.37
04/30/2021        EFT         ALPHA            ALPHA BAKING COMPANY                        P    o
                                                                                                C        -7,225.61
                                                                                                o
                 Case 21-04729
5/24/2021 11:54 AM
                                  Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50          Desc Main   Page 3 of 9
                                                    Reconciliation
                                                 Document      PageReport
                                                                    27 of 33
                                         Corporate - POST PETITION, Entity #999
                         Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                   Cleared Transaction Detail


Date              Type        Number             Description                                  Cleared              Amount
Cleared Credits
04/30/2021        EFT         ALPHA              ALPHA BAKING COMPANY                              P    C        -5,820.83
04/30/2021        EFT         C-007-0000225      Illinois American Water                           P    o
                                                                                                        C          -319.16
04/30/2021        EFT         C-009-0000357      Chowly, Inc.                                      P    o
                                                                                                        C           -53.70
04/30/2021        EFT         C-999-0001042      Illinois Department of Revenue                    P    o
                                                                                                        C       -10,938.00
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C           -30.02
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C           -30.02
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C           -30.02
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C        -2,876.51
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C        -2,726.57
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C           -30.02
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C        -2,747.73
04/30/2021        EFT         GFS                Gordon Food Service                               P    o
                                                                                                        C           -30.02
                                                                                                        o
Total Cleared Credits                                                             111 Items                     -111,311.31
Cleared Debits
04/24/2021        CSH         DSR-011-20210424                                                     P    C           205.62
04/25/2021        VMD         DSR-001-20210425                                                     P    o
                                                                                                        C         2,546.96
04/25/2021        TAP         DSR-001-20210425                                                     P    o
                                                                                                        C           700.03
04/25/2021        VMD         DSR-002-20210425                                                     P    o
                                                                                                        C         3,289.73
04/25/2021        TAP         DSR-002-20210425                                                     P    o
                                                                                                        C           412.52
04/25/2021        VMD         DSR-003-20210425                                                     P    o
                                                                                                        C         2,675.20
04/25/2021        TAP         DSR-003-20210425                                                     P    o
                                                                                                        C         1,103.50
04/25/2021        VMD         DSR-005-20210425                                                     P    o
                                                                                                        C         1,788.76
04/25/2021        TAP         DSR-005-20210425                                                     P    o
                                                                                                        C           851.96
04/25/2021        VMD         DSR-006-20210425                                                     P    o
                                                                                                        C         1,815.32
04/25/2021        TAP         DSR-006-20210425                                                     P    o
                                                                                                        C           386.35
04/25/2021        VMD         DSR-007-20210425                                                     P    o
                                                                                                        C         3,956.32
04/25/2021        TAP         DSR-007-20210425                                                     P    o
                                                                                                        C           396.39
04/25/2021        DEP         DSR-009-20210425                                                     P    o
                                                                                                        C         1,449.80
04/25/2021        TAP         DSR-009-20210425                                                     P    o
                                                                                                        C           424.78
04/25/2021        DEP         DSR-011-20210425                                                     P    o
                                                                                                        C           775.74
04/25/2021        TAP         DSR-011-20210425                                                     P    o
                                                                                                        C           350.01
04/25/2021        CSH         DSR-011-20210425                                                     P    o
                                                                                                        C            82.52
04/25/2021        DEP         DSR-013-20210425                                                     P    o
                                                                                                        C         2,515.27
04/25/2021        TAP         DSR-013-20210425                                                     P    o
                                                                                                        C           656.54
04/25/2021        VMD         DSR-014-20210425                                                     P    o
                                                                                                        C         2,434.02
04/25/2021        TAP         DSR-014-20210425                                                     P    o
                                                                                                        C           311.15
04/25/2021        VMD         DSR-016-20210425                                                     P    o
                                                                                                        C         1,649.85
04/25/2021        TAP         DSR-016-20210425                                                     P    o
                                                                                                        C           416.98
04/25/2021        VMD         DSR-017-20210425                                                     P    o
                                                                                                        C         1,867.92
04/25/2021        TAP         DSR-017-20210425                                                     P    o
                                                                                                        C           206.44
04/25/2021        JE          GJ-003-0005234     Square Fees and Tips 4.25                         P    o
                                                                                                        C            30.00
04/25/2021        JE          GJ-005-0004649     Square Fees and Tips 4.25                         P    o
                                                                                                        C             2.85
04/25/2021        JE          GJ-011-0003036     Square Fees and Tips 4.25                         P    o
                                                                                                        C             2.76
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C            17.17
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C             0.34
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C             0.33
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C             3.66
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C             6.31
04/25/2021        JE          GJ-999-0008653     Fix TapMango 4.25                                 P    o
                                                                                                        C             2.04
04/26/2021        VMD         DSR-001-20210426                                                     P    o
                                                                                                        C         2,103.28
04/26/2021        TAP         DSR-001-20210426                                                     P    o
                                                                                                        C           519.75
04/26/2021        VMD         DSR-002-20210426                                                     P    o
                                                                                                        C         2,049.38
04/26/2021        TAP         DSR-002-20210426                                                     P    o
                                                                                                        C           251.85
04/26/2021        CSH         DSR-002-20210426                                                     P    o
                                                                                                        C           566.16
04/26/2021        VMD         DSR-003-20210426                                                     P    o
                                                                                                        C         1,909.25
04/26/2021        TAP         DSR-003-20210426                                                     P    o
                                                                                                        C           357.39
04/26/2021        CSH         DSR-003-20210426                                                     P    o
                                                                                                        C           344.17
04/26/2021        VMD         DSR-005-20210426                                                     P    o
                                                                                                        C         1,183.01
                                                                                                        o
                 Case 21-04729
5/24/2021 11:54 AM
                                 Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main   Page 4 of 9
                                                   Reconciliation
                                                Document      PageReport
                                                                   28 of 33
                                        Corporate - POST PETITION, Entity #999
                        Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                  Cleared Transaction Detail


Date             Type        Number             Description                           Cleared              Amount
Cleared Debits
04/26/2021       TAP         DSR-005-20210426                                              P    C           219.08
04/26/2021       CSH         DSR-005-20210426                                              P    o
                                                                                                C            92.29
04/26/2021       VMD         DSR-006-20210426                                              P    o
                                                                                                C         1,004.05
04/26/2021       TAP         DSR-006-20210426                                              P    o
                                                                                                C           167.10
04/26/2021       VMD         DSR-007-20210426                                              P    o
                                                                                                C         2,349.50
04/26/2021       TAP         DSR-007-20210426                                              P    o
                                                                                                C           262.71
04/26/2021       DEP         DSR-009-20210426                                              P    o
                                                                                                C         1,108.56
04/26/2021       TAP         DSR-009-20210426                                              P    o
                                                                                                C           315.25
04/26/2021       CSH         DSR-009-20210426                                              P    o
                                                                                                C           294.13
04/26/2021       DEP         DSR-011-20210426                                              P    o
                                                                                                C           232.17
04/26/2021       TAP         DSR-011-20210426                                              P    o
                                                                                                C            43.40
04/26/2021       CSH         DSR-011-20210426                                              P    o
                                                                                                C            35.55
04/26/2021       DEP         DSR-013-20210426                                              P    o
                                                                                                C         1,300.14
04/26/2021       TAP         DSR-013-20210426                                              P    o
                                                                                                C           289.88
04/26/2021       CSH         DSR-013-20210426                                              P    o
                                                                                                C           322.15
04/26/2021       VMD         DSR-014-20210426                                              P    o
                                                                                                C         1,911.95
04/26/2021       TAP         DSR-014-20210426                                              P    o
                                                                                                C           181.14
04/26/2021       CSH         DSR-014-20210426                                              P    o
                                                                                                C           629.16
04/26/2021       VMD         DSR-016-20210426                                              P    o
                                                                                                C         1,005.53
04/26/2021       TAP         DSR-016-20210426                                              P    o
                                                                                                C           396.36
04/26/2021       CSH         DSR-016-20210426                                              P    o
                                                                                                C           264.13
04/26/2021       VMD         DSR-017-20210426                                              P    o
                                                                                                C         1,807.85
04/26/2021       TAP         DSR-017-20210426                                              P    o
                                                                                                C           121.07
04/26/2021       CSH         DSR-017-20210426                                              P    o
                                                                                                C           374.20
04/26/2021       JE          GJ-013-0002824     Square Fees and Tips 4.26                  P    o
                                                                                                C             0.01
04/26/2021       JE          GJ-014-0002428     Square Fees and Tips 4.26                  P    o
                                                                                                C            25.00
04/26/2021       JE          GJ-999-0008654     Fix TapMango 4.26                          P    o
                                                                                                C           197.83
04/26/2021       JE          GJ-999-0008654     Fix TapMango 4.26                          P    o
                                                                                                C             4.94
04/26/2021       JE          GJ-999-0008654     Fix TapMango 4.26                          P    o
                                                                                                C           137.74
04/26/2021       JE          GJ-999-0008654     Fix TapMango 4.26                          P    o
                                                                                                C             1.56
04/27/2021       VMD         DSR-001-20210427                                              P    o
                                                                                                C         1,478.35
04/27/2021       TAP         DSR-001-20210427                                              P    o
                                                                                                C           506.59
04/27/2021       VMD         DSR-002-20210427                                              P    o
                                                                                                C         1,989.57
04/27/2021       TAP         DSR-002-20210427                                              P    o
                                                                                                C           151.43
04/27/2021       CSH         DSR-002-20210427                                              P    o
                                                                                                C           369.14
04/27/2021       VMD         DSR-003-20210427                                              P    o
                                                                                                C         1,853.96
04/27/2021       TAP         DSR-003-20210427                                              P    o
                                                                                                C           457.27
04/27/2021       CSH         DSR-003-20210427                                              P    o
                                                                                                C           245.71
04/27/2021       VMD         DSR-005-20210427                                              P    o
                                                                                                C         1,235.10
04/27/2021       TAP         DSR-005-20210427                                              P    o
                                                                                                C           406.84
04/27/2021       CSH         DSR-005-20210427                                              P    o
                                                                                                C           132.62
04/27/2021       VMD         DSR-006-20210427                                              P    o
                                                                                                C         1,080.55
04/27/2021       TAP         DSR-006-20210427                                              P    o
                                                                                                C           273.91
04/27/2021       VMD         DSR-007-20210427                                              P    o
                                                                                                C         3,132.25
04/27/2021       TAP         DSR-007-20210427                                              P    o
                                                                                                C           141.21
04/27/2021       DEP         DSR-009-20210427                                              P    o
                                                                                                C         1,711.33
04/27/2021       TAP         DSR-009-20210427                                              P    o
                                                                                                C           121.57
04/27/2021       CSH         DSR-009-20210427                                              P    o
                                                                                                C           264.64
04/27/2021       DEP         DSR-013-20210427                                              P    o
                                                                                                C         1,607.78
04/27/2021       TAP         DSR-013-20210427                                              P    o
                                                                                                C           413.63
04/27/2021       CSH         DSR-013-20210427                                              P    o
                                                                                                C           254.53
04/27/2021       VMD         DSR-014-20210427                                              P    o
                                                                                                C         2,832.93
04/27/2021       TAP         DSR-014-20210427                                              P    o
                                                                                                C           192.50
04/27/2021       CSH         DSR-014-20210427                                              P    o
                                                                                                C           626.12
04/27/2021       VMD         DSR-016-20210427                                              P    o
                                                                                                C         1,024.24
04/27/2021       TAP         DSR-016-20210427                                              P    o
                                                                                                C           116.23
04/27/2021       CSH         DSR-016-20210427                                              P    o
                                                                                                C            56.82
04/27/2021       VMD         DSR-017-20210427                                              P    o
                                                                                                C         2,050.62
04/27/2021       TAP         DSR-017-20210427                                              P    o
                                                                                                C           259.70
                                                                                                o
                 Case 21-04729
5/24/2021 11:54 AM
                                 Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50   Desc Main   Page 5 of 9
                                                   Reconciliation
                                                Document      PageReport
                                                                   29 of 33
                                        Corporate - POST PETITION, Entity #999
                        Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                  Cleared Transaction Detail


Date             Type        Number             Description                           Cleared              Amount
Cleared Debits
04/27/2021       JE          GJ-001-0006575     Square Fees and Tips 4.27                  P    C            25.00
04/27/2021       JE          GJ-002-0004901     Square Fees and Tips 4.27                  P    o
                                                                                                C             0.22
04/27/2021       JE          GJ-005-0004650     Square Fees and Tips 4.27                  P    o
                                                                                                C             4.79
04/27/2021       JE          GJ-011-0003037     Square Fees and Tips 4.27                  P    o
                                                                                                C           105.57
04/27/2021       JE          GJ-014-0002426     Square Fees and Tips 4.27                  P    o
                                                                                                C            30.00
04/27/2021       JE          GJ-017-0002483     Square Fees and Tips 4.27                  P    o
                                                                                                C             0.60
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           458.34
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           396.12
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           225.80
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           214.90
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           205.99
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           198.02
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           195.04
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           155.45
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C           102.00
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C            92.13
04/27/2021       JE          GJ-999-0008606     Postmates Payments P5W1                    P    o
                                                                                                C            81.14
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C         1,433.09
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C         1,090.46
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C         1,043.11
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           935.75
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           746.83
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           638.23
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           613.50
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           415.65
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           291.21
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           164.95
04/27/2021       JE          GJ-999-0008607     UberEats Payments P5W1                     P    o
                                                                                                C           130.07
04/27/2021       JE          GJ-999-0008655     Fix TapMango 4.27                          P    o
                                                                                                C            99.44
04/27/2021       JE          GJ-999-0008655     Fix TapMango 4.27                          P    o
                                                                                                C             0.22
04/27/2021       JE          GJ-999-0008655     Fix TapMango 4.27                          P    o
                                                                                                C             1.37
04/27/2021       JE          GJ-999-0008655     Fix TapMango 4.27                          P    o
                                                                                                C            37.78
04/28/2021       VMD         DSR-001-20210428                                              P    o
                                                                                                C         1,890.85
04/28/2021       TAP         DSR-001-20210428                                              P    o
                                                                                                C           449.26
04/28/2021       VMD         DSR-002-20210428                                              P    o
                                                                                                C         2,106.55
04/28/2021       TAP         DSR-002-20210428                                              P    o
                                                                                                C           442.32
04/28/2021       CSH         DSR-002-20210428                                              P    o
                                                                                                C           292.92
04/28/2021       VMD         DSR-003-20210428                                              P    o
                                                                                                C         2,281.31
04/28/2021       TAP         DSR-003-20210428                                              P    o
                                                                                                C           561.82
04/28/2021       CSH         DSR-003-20210428                                              P    o
                                                                                                C           323.98
04/28/2021       VMD         DSR-005-20210428                                              P    o
                                                                                                C         1,315.74
04/28/2021       TAP         DSR-005-20210428                                              P    o
                                                                                                C           278.24
04/28/2021       CSH         DSR-005-20210428                                              P    o
                                                                                                C           305.69
04/28/2021       VMD         DSR-006-20210428                                              P    o
                                                                                                C           988.45
04/28/2021       TAP         DSR-006-20210428                                              P    o
                                                                                                C           322.22
04/28/2021       VMD         DSR-007-20210428                                              P    o
                                                                                                C         3,082.32
04/28/2021       TAP         DSR-007-20210428                                              P    o
                                                                                                C           456.41
04/28/2021       DEP         DSR-009-20210428                                              P    o
                                                                                                C         1,053.03
04/28/2021       TAP         DSR-009-20210428                                              P    o
                                                                                                C           386.31
04/28/2021       CSH         DSR-009-20210428                                              P    o
                                                                                                C           158.45
04/28/2021       DEP         DSR-011-20210428                                              P    o
                                                                                                C           667.55
04/28/2021       TAP         DSR-011-20210428                                              P    o
                                                                                                C           196.26
04/28/2021       CSH         DSR-011-20210428                                              P    o
                                                                                                C            55.89
04/28/2021       DEP         DSR-013-20210428                                              P    o
                                                                                                C         2,476.85
04/28/2021       TAP         DSR-013-20210428                                              P    o
                                                                                                C           332.68
04/28/2021       CSH         DSR-013-20210428                                              P    o
                                                                                                C           263.39
04/28/2021       VMD         DSR-014-20210428                                              P    o
                                                                                                C         1,802.04
04/28/2021       TAP         DSR-014-20210428                                              P    o
                                                                                                C           490.74
04/28/2021       CSH         DSR-014-20210428                                              P    o
                                                                                                C           621.94
                                                                                                o
                 Case 21-04729
5/24/2021 11:54 AM
                                      Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50                   Desc Main   Page 6 of 9
                                                        Reconciliation
                                                     Document      PageReport
                                                                        30 of 33
                                             Corporate - POST PETITION, Entity #999
                             Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                                       Cleared Transaction Detail


Date             Type             Number             Description                                           Cleared              Amount
Cleared Debits
04/28/2021       VMD              DSR-016-20210428                                                              P    C           863.88
04/28/2021       TAP              DSR-016-20210428                                                              P    o
                                                                                                                     C           151.43
04/28/2021       CSH              DSR-016-20210428                                                              P    o
                                                                                                                     C           202.05
04/28/2021       VMD              DSR-017-20210428                                                              P    o
                                                                                                                     C         1,964.20
04/28/2021       TAP              DSR-017-20210428                                                              P    o
                                                                                                                     C           223.76
04/28/2021       JE               GJ-006-0003627     Square Fees and Tips 4.28                                  P    o
                                                                                                                     C            20.00
04/28/2021       JE               GJ-009-0003107     Square Fees and Tips 4.28                                  P    o
                                                                                                                     C            30.00
04/28/2021       JE               GJ-014-0002427     Square Fees and Tips 4.28                                  P    o
                                                                                                                     C            31.75
04/28/2021       JE               GJ-999-0008608     EzCater Payments P5W1                                      P    o
                                                                                                                     C           310.09
04/28/2021       JE               GJ-999-0008608     EzCater Payments P5W1                                      P    o
                                                                                                                     C           296.20
04/28/2021       JE               GJ-999-0008656     Fix TapMango 4.28                                          P    o
                                                                                                                     C             0.92
04/28/2021       JE               GJ-999-0008656     Fix TapMango 4.28                                          P    o
                                                                                                                     C             2.80
04/29/2021       CSH              DSR-002-20210429                                                              P    o
                                                                                                                     C           373.98
04/29/2021       CSH              DSR-003-20210429                                                              P    o
                                                                                                                     C           548.40
04/29/2021       CSH              DSR-005-20210429                                                              P    o
                                                                                                                     C           355.56
04/29/2021       CSH              DSR-009-20210429                                                              P    o
                                                                                                                     C           247.30
04/29/2021       CSH              DSR-011-20210429                                                              P    o
                                                                                                                     C           107.66
04/29/2021       CSH              DSR-014-20210429                                                              P    o
                                                                                                                     C           639.29
04/29/2021       CSH              DSR-016-20210429                                                              P    o
                                                                                                                     C           468.97
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         2,540.94
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,491.62
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         2,322.59
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,841.87
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,767.66
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         2,429.07
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         2,747.00
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         2,270.73
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,691.83
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,006.94
04/30/2021       JE               GJ-999-0008610     DoorDash Payments P5W1                                     P    o
                                                                                                                     C         1,387.44
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C         2,431.89
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C         1,753.68
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C         1,194.43
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           660.02
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           599.30
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           564.08
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           524.62
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           291.18
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           275.47
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           212.62
04/30/2021       JE               GJ-999-0008611     GrubHub Payments P5W1                                      P    o
                                                                                                                     C           159.31
04/30/2021       JE               GJ-999-0008659     Clear Comcast Bill 4.4                                     P    o
                                                                                                                     C           185.61
04/30/2021       JE               GJ-999-0008660     Fix Bank Rec April                                         P    o
                                                                                                                     C             0.10
                                                                                                                     o
Total Cleared Debits                                                                           205 Items                     153,625.17

Total Cleared Transactions                                                                     316 Items                      42,313.86
Uncleared Credits
04/15/2021       CHK              0000013033         C150-II 709 S Main LLC                                          C        -5,791.69
04/15/2021       CHK              0000013041         Shops at Flint Creek Propco, LLC                                o
                                                                                                                     C        -4,627.83
04/21/2021       EFT              C-005-0000233      Comcast Cable                                                   o
                                                                                                                     C          -142.60
04/23/2021       EFT              C-013-0000109      Comcast Cable                                                   o
                                                                                                                     C          -185.61
04/26/2021       CHK              0000013044         API PLUMBING                                                    o
                                                                                                                     C          -675.00
04/26/2021       CHK              0000013045         Champaign-Urbana Public Health District                         o
                                                                                                                     C          -420.00
04/26/2021       CHK              0000013046         CK Brush                                                        o
                                                                                                                     C          -225.00
04/26/2021       CHK              0000013047         MAHONEY ENVIRONMENTAL                                           o
                                                                                                                     C          -168.00
04/26/2021       CHK              0000013048         Securitas Electronic Security Inc.                              o
                                                                                                                     C          -114.00
04/26/2021       CHK              0000013049         STAPLES BUSINESS ADVANTAGE                                      o
                                                                                                                     C        -1,904.85
04/26/2021       CHK              0000013050         Stephanie Brooks                                                o
                                                                                                                     C          -660.45
                                                                                                                     o
               Case 21-04729
5/24/2021 11:54 AM
                                   Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50               Desc Main   Page 7 of 9
                                                     Reconciliation
                                                  Document      PageReport
                                                                     31 of 33
                                          Corporate - POST PETITION, Entity #999
                          Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                         Uncleared Transaction Detail up to 04/30/2021


Date            Type           Number             Description                                       Cleared              Amount
Uncleared Credits
04/26/2021      CHK            0000013051         Town of Munster                                             C          -352.10
04/26/2021      CHK            0000013052         UCSD                                                        o
                                                                                                              C          -510.48
04/26/2021      CHK            0000013053         NIPSCO                                                      o
                                                                                                              C        -1,124.49
04/26/2021      CHK            0000013054         SQUARE TOAST                                                o
                                                                                                              C        -7,380.00
04/26/2021      EFT            C-003-0000257      Comcast Cable                                               o
                                                                                                              C          -100.37
04/26/2021      EFT            C-017-0000082      Comcast Cable                                               o
                                                                                                              C          -130.12
04/28/2021      JE             GJ-999-0008599     move MH deposit check                                       o
                                                                                                              C          -189.00
04/29/2021      JE             GJ-001-0006583     Square Fees and Tips 4.29                                   o
                                                                                                              C           -20.31
04/29/2021      JE             GJ-002-0004909     Square Fees and Tips 4.29                                   o
                                                                                                              C           -15.91
04/29/2021      JE             GJ-003-0005241     Square Fees and Tips 4.29                                   o
                                                                                                              C           -31.34
04/29/2021      JE             GJ-005-0004656     Square Fees and Tips 4.29                                   o
                                                                                                              C             -8.14
04/29/2021      JE             GJ-006-0003637     Square Fees and Tips 4.29                                   o
                                                                                                              C           -14.85
04/29/2021      JE             GJ-007-0004313     Square Fees and Tips 4.29                                   o
                                                                                                              C           -15.62
04/29/2021      JE             GJ-009-0003114     Square Fees and Tips 4.29                                   o
                                                                                                              C             -8.10
04/29/2021      JE             GJ-011-0003046     Square Fees and Tips 4.29                                   o
                                                                                                              C             -7.30
04/29/2021      JE             GJ-013-0002834     Square Fees and Tips 4.29                                   o
                                                                                                              C           -10.19
04/29/2021      JE             GJ-014-0002433     Square Fees and Tips 4.29                                   o
                                                                                                              C           -15.25
04/29/2021      JE             GJ-016-0002248     Square Fees and Tips 4.29                                   o
                                                                                                              C           -12.57
04/29/2021      JE             GJ-017-0002490     Square Fees and Tips 4.29                                   o
                                                                                                              C             -6.15
04/29/2021      JE             GJ-017-0002490     Square Fees and Tips 4.29                                   o
                                                                                                              C             -7.65
04/30/2021      JE             GJ-001-0006582     Square Fees and Tips 4.30                                   o
                                                                                                              C           -25.90
04/30/2021      JE             GJ-002-0004908     Square Fees and Tips 4.30                                   o
                                                                                                              C            -31.11
04/30/2021      JE             GJ-003-0005242     Square Fees and Tips 4.30                                   o
                                                                                                              C           -47.55
04/30/2021      JE             GJ-005-0004657     Square Fees and Tips 4.30                                   o
                                                                                                              C           -33.87
04/30/2021      JE             GJ-006-0003634     Square Fees and Tips 4.30                                   o
                                                                                                              C             -1.83
04/30/2021      JE             GJ-006-0003634     Square Fees and Tips 4.30                                   o
                                                                                                              C           -17.13
04/30/2021      JE             GJ-007-0004310     Square Fees and Tips 4.30                                   o
                                                                                                              C           -28.44
04/30/2021      JE             GJ-009-0003117     Square Fees and Tips 4.30                                   o
                                                                                                              C           -32.87
04/30/2021      JE             GJ-013-0002831     Square Fees and Tips 4.30                                   o
                                                                                                              C             -9.42
04/30/2021      JE             GJ-014-0002434     Square Fees and Tips 4.30                                   o
                                                                                                              C           -19.95
04/30/2021      JE             GJ-016-0002251     Square Fees and Tips 4.30                                   o
                                                                                                              C           -21.18
04/30/2021      JE             GJ-017-0002492     Square Fees and Tips 4.30                                   o
                                                                                                              C             -8.30
                                                                                                              o
Total Uncleared Credits                                                                  43 Items                      -25,152.52
Uncleared Debits
04/27/2021      CSH            DSR-017-20210427                                                               C           321.26
04/28/2021      CSH            DSR-017-20210428                                                               o
                                                                                                              C           272.17
04/29/2021      VMD            DSR-001-20210429                                                               o
                                                                                                              C         2,059.21
04/29/2021      TAP            DSR-001-20210429                                                               o
                                                                                                              C           535.00
04/29/2021      VMD            DSR-002-20210429                                                               o
                                                                                                              C         2,228.26
04/29/2021      TAP            DSR-002-20210429                                                               o
                                                                                                              C           390.06
04/29/2021      VMD            DSR-003-20210429                                                               o
                                                                                                              C         1,973.36
04/29/2021      TAP            DSR-003-20210429                                                               o
                                                                                                              C           780.25
04/29/2021      VMD            DSR-005-20210429                                                               o
                                                                                                              C         1,142.44
04/29/2021      TAP            DSR-005-20210429                                                               o
                                                                                                              C           208.45
04/29/2021      VMD            DSR-006-20210429                                                               o
                                                                                                              C         1,154.01
04/29/2021      TAP            DSR-006-20210429                                                               o
                                                                                                              C           366.31
04/29/2021      VMD            DSR-007-20210429                                                               o
                                                                                                              C         3,499.52
04/29/2021      TAP            DSR-007-20210429                                                               o
                                                                                                              C           373.51
04/29/2021      DEP            DSR-009-20210429                                                               o
                                                                                                              C         1,300.41
04/29/2021      TAP            DSR-009-20210429                                                               o
                                                                                                              C           179.47
04/29/2021      DEP            DSR-011-20210429                                                               o
                                                                                                              C           914.07
04/29/2021      TAP            DSR-011-20210429                                                               o
                                                                                                              C           168.68
04/29/2021      DEP            DSR-013-20210429                                                               o
                                                                                                              C         2,976.36
04/29/2021      TAP            DSR-013-20210429                                                               o
                                                                                                              C           258.62
04/29/2021      CSH            DSR-013-20210429                                                               o
                                                                                                              C           290.37
04/29/2021      VMD            DSR-014-20210429                                                               o
                                                                                                              C         2,005.57
04/29/2021      TAP            DSR-014-20210429                                                               o
                                                                                                              C           369.93
04/29/2021      VMD            DSR-016-20210429                                                               o
                                                                                                              C         1,050.59
                                                                                                              o
              Case 21-04729
5/24/2021 11:54 AM
                               Doc 112        Filed 05/25/21 Entered 05/25/21 12:59:50    Desc Main   Page 8 of 9
                                                 Reconciliation
                                              Document      PageReport
                                                                 32 of 33
                                      Corporate - POST PETITION, Entity #999
                      Bank Code: 999 OPERATING, 999 OPERATING Statement Date: 04/30/2021

                                     Uncleared Transaction Detail up to 04/30/2021


Date           Type        Number             Description                            Cleared              Amount
Uncleared Debits
04/29/2021     TAP         DSR-016-20210429                                                    C           299.05
04/29/2021     VMD         DSR-017-20210429                                                    o
                                                                                               C         1,818.96
04/29/2021     TAP         DSR-017-20210429                                                    o
                                                                                               C           199.77
04/29/2021     CSH         DSR-017-20210429                                                    o
                                                                                               C           348.74
04/29/2021     JE          GJ-001-0006583     Square Fees and Tips 4.29                        o
                                                                                               C           107.00
04/29/2021     JE          GJ-002-0004909     Square Fees and Tips 4.29                        o
                                                                                               C             2.28
04/29/2021     JE          GJ-003-0005241     Square Fees and Tips 4.29                        o
                                                                                               C           200.00
04/29/2021     JE          GJ-005-0004656     Square Fees and Tips 4.29                        o
                                                                                               C             0.04
04/29/2021     JE          GJ-009-0003114     Square Fees and Tips 4.29                        o
                                                                                               C             1.90
04/29/2021     JE          GJ-014-0002433     Square Fees and Tips 4.29                        o
                                                                                               C            10.00
04/29/2021     JE          GJ-014-0002433     Square Fees and Tips 4.29                        o
                                                                                               C             1.44
04/29/2021     JE          GJ-016-0002248     Square Fees and Tips 4.29                        o
                                                                                               C            30.00
04/29/2021     JE          GJ-999-0008618     Square Fees and Tips 4.29                        o
                                                                                               C            19.12
04/30/2021     VMD         DSR-001-20210430                                                    o
                                                                                               C         3,061.48
04/30/2021     TAP         DSR-001-20210430                                                    o
                                                                                               C           625.99
04/30/2021     VMD         DSR-002-20210430                                                    o
                                                                                               C         3,270.67
04/30/2021     TAP         DSR-002-20210430                                                    o
                                                                                               C           784.26
04/30/2021     CSH         DSR-002-20210430                                                    o
                                                                                               C           423.72
04/30/2021     VMD         DSR-003-20210430                                                    o
                                                                                               C         3,155.92
04/30/2021     TAP         DSR-003-20210430                                                    o
                                                                                               C         1,296.60
04/30/2021     CSH         DSR-003-20210430                                                    o
                                                                                               C           519.15
04/30/2021     VMD         DSR-005-20210430                                                    o
                                                                                               C         1,772.07
04/30/2021     TAP         DSR-005-20210430                                                    o
                                                                                               C           903.56
04/30/2021     CSH         DSR-005-20210430                                                    o
                                                                                               C           398.66
04/30/2021     VMD         DSR-006-20210430                                                    o
                                                                                               C         1,412.83
04/30/2021     TAP         DSR-006-20210430                                                    o
                                                                                               C           390.28
04/30/2021     VMD         DSR-007-20210430                                                    o
                                                                                               C         4,267.75
04/30/2021     TAP         DSR-007-20210430                                                    o
                                                                                               C           733.07
04/30/2021     DEP         DSR-009-20210430                                                    o
                                                                                               C         1,886.79
04/30/2021     TAP         DSR-009-20210430                                                    o
                                                                                               C           905.05
04/30/2021     CSH         DSR-009-20210430                                                    o
                                                                                               C           243.14
04/30/2021     DEP         DSR-011-20210430                                                    o
                                                                                               C         1,470.87
04/30/2021     TAP         DSR-011-20210430                                                    o
                                                                                               C            59.85
04/30/2021     CSH         DSR-011-20210430                                                    o
                                                                                               C           241.90
04/30/2021     DEP         DSR-013-20210430                                                    o
                                                                                               C         2,431.06
04/30/2021     TAP         DSR-013-20210430                                                    o
                                                                                               C           222.07
04/30/2021     CSH         DSR-013-20210430                                                    o
                                                                                               C           674.97
04/30/2021     VMD         DSR-014-20210430                                                    o
                                                                                               C         2,357.63
04/30/2021     TAP         DSR-014-20210430                                                    o
                                                                                               C           413.01
04/30/2021     CSH         DSR-014-20210430                                                    o
                                                                                               C           797.02
04/30/2021     VMD         DSR-016-20210430                                                    o
                                                                                               C         1,415.41
04/30/2021     TAP         DSR-016-20210430                                                    o
                                                                                               C           560.37
04/30/2021     CSH         DSR-016-20210430                                                    o
                                                                                               C           314.05
04/30/2021     VMD         DSR-017-20210430                                                    o
                                                                                               C         2,727.43
04/30/2021     TAP         DSR-017-20210430                                                    o
                                                                                               C           211.91
04/30/2021     CSH         DSR-017-20210430                                                    o
                                                                                               C           477.29
04/30/2021     JE          GJ-001-0006582     Square Fees and Tips 4.30                        o
                                                                                               C            40.00
04/30/2021     JE          GJ-002-0004908     Square Fees and Tips 4.30                        o
                                                                                               C            20.00
04/30/2021     JE          GJ-002-0004908     Square Fees and Tips 4.30                        o
                                                                                               C            18.76
04/30/2021     JE          GJ-003-0005242     Square Fees and Tips 4.30                        o
                                                                                               C             0.15
04/30/2021     JE          GJ-005-0004657     Square Fees and Tips 4.30                        o
                                                                                               C             5.00
04/30/2021     JE          GJ-006-0003634     Square Fees and Tips 4.30                        o
                                                                                               C            20.00
04/30/2021     JE          GJ-007-0004310     Square Fees and Tips 4.30                        o
                                                                                               C            62.53
04/30/2021     JE          GJ-011-0003043     Square Fees and Tips 4.30                        o
                                                                                               C            55.00
04/30/2021     JE          GJ-013-0002831     Square Fees and Tips 4.30                        o
                                                                                               C            20.00
04/30/2021     JE          GJ-014-0002434     Square Fees and Tips 4.30                        o
                                                                                               C           180.00
04/30/2021     JE          GJ-999-0008619     Square Fees and Tips 4.30                        o
                                                                                               C            38.54
                                                                                               o
                Case 21-04729
5/24/2021 11:54 AM
                                        Doc 112   Filed 05/25/21 Entered 05/25/21 12:59:50            Desc Main   Page 9 of 9
                                                     Reconciliation
                                                  Document      PageReport
                                                                     33 of 33
                               Bank Code: 999 OPERATING, 999 OPERATING   Statement Date: 04/30/2021




Date             Type               Number        Description                                    Cleared              Amount

Total Uncleared Debits                                                                81 Items                      68,741.99

Total Uncleared Transactions                                                         124 Items                      43,589.47


440 total records
